        Case 1:21-cv-03267-APM Document 168 Filed 03/10/23 Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

DISTRICT OF COLUMBIA,

              Plaintiff,                         Civil Case No. 1:21-cv-03267 APM

       vs.

PROUD BOYS INTERNATIONAL, L.L.C.,
et. al.,

              Defendants.


              DEFENDANT JON RYAN SCHAFFER’S MOTION TO
             JOIN MOTIONS TO DISMISS AMENDED COMPLAINT

       Defendant Jon Ryan Schaffer (“Schaffer”), through counsel undersigned,

respectfully moves to join in the five motions to dismiss the amended complaint (ECF No.

94) in the above-captioned case. Those motions to dismiss are filed as ECF Nos. 97, 108,

109, 110 and 111). In addition, Defendant Schaffer moves to join in the replies filed as

ECF Nos. 155, 156, and 158.

       Defendant Schaffer asks to join these filed motions to the extent they pertain to

allegations against him. The arguments set forth in the motions to dismiss similarly apply

to Defendant Schaffer. Joinder to the motions to dismiss and their replies serve the interests

to expedite and consolidate this matter and to avoid the repetition of filing a separate

motion that would assert the same arguments as set forth in those motions and replies.
        Case 1:21-cv-03267-APM Document 168 Filed 03/10/23 Page 2 of 3




       Accordingly, for good cause hopefully shown, Defendant Jon Ryan Schaffer

respectfully requests leave to join in the motions to dismiss at ECF Nos. 97, 108, 109, 110

and 111 and the replies filed as ECF Nos. 155, 156, and 158.

                                          Respectfully submitted,

                                           /s/ Daniel M. Gray
                                          Daniel M. Gray – D.C. Bar TX 0018
                                          Law Offices of Daniel M. Gray, LLC
                                          7617 Virginia Avenue
                                          Falls Church, VA 22043
                                          (703) 204-0164
                                          (703) 204-1449
                                          Graydm2@verizon.net
                                          Counsel for Defendant Jon Ryan Schaffer


                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 10th, 2023, a copy of the foregoing was sent

via ECF to the United States Attorney’s Office for the District of Columbia.

                                          Respectfully submitted,

DATED: March 10th, 2023                    /s/ Daniel M. Gray
                                          Daniel M. Gray – D.C. Bar TX 0018
                                          Law Offices of Daniel M. Gray, LLC
                                          7617 Virginia Avenue
                                          Falls Church, VA 22043
                                          (703) 204-0164
                                          (703) 204-1449
                                          Graydm2@verizon.net
                                          Counsel for Defendant Jon Ryan Schaffer
        Case 1:21-cv-03267-APM Document 168 Filed 03/10/23 Page 3 of 3




                   IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

DISTRICT OF COLUMBIA,

             Plaintiff,                        Civil Case No. 1:21-cv-03267 APM

      vs.

PROUD BOYS INTERNATIONAL, L.L.C.,
et. al.,

             Defendants.


                                        ORDER

      Upon consideration of Defendant Jon Ryan Schaffer’s Motion to Join Motions to

Dismiss the Amended Complaint, it is hereby:

      ORDERED granting Defendant Jon Ryan Schaffer’s Motion to Joint Motions to

Dismiss the Amended Complaint filed as ECF Nos. 97, 108, 109, 110 and 111 and the

replies filed as ECF Nos. 155, 156, and 158.

      ENTERED this ________ day of                                        , 2023.



                                         __________________________________
                                         The Honorable Amit P. Mehta
                                         United States District Court Judge
